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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

JOHN PAUL MAC ISAAC,            )
                                )
          Plaintiff,            )
                                )
      v.                        )       Case No. 1:23-cv-247
                                )
CABLE NEWS NETWORK, INC., ADAM )
BENNETT SCHIFF, POLITICO LLC,   )
ROBERT HUNTER BIDEN, AND BFPCC, )
INC.,                           )
                                )
          Defendants.           )

 UNITED STATES’ REPLY IN SUPPORT OF ITS MOTION TO SUBSTITUTE AND
        DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION
                     PURSUANT TO RULE 12(b)(1)

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I.     INTRODUCTION

       Under the Westfall Act, 28 U.S.C. § 2679(d)(2), the Director of the Torts Branch

certified that Representative Adam Schiff was acting within the course and scope of his

employment with the House of Representatives when he participated in the Cable News Network

(“CNN”) interview that forms the basis of plaintiff’s defamation claims. Plaintiff acknowledges

that in order to rebut the certification it is his burden to show “by a preponderance of the

evidence” that Representative Schiff “was not acting within the scope of his office or

employment as a Member [of Congress].” Opp’n at 8 (D.I. No. 18-1) (citing Saleh v. Bush, 848

F.3d 880, 889 (9th Cir. 2017); Wilson v. Libby, 535 F.3d 697, 711 (D.C. Cir. 2008); Lyons v.

Brown, 158 F.3d 605, 610 (1st Cir. 1998); Green v. Hall, 8 F.3d 695, 698 (9th Cir. 1993); S.J. &

W. Ranch, Inc. v. Lehtinen, 913 F.2d 1538, 1543 (11th Cir. 1990)). In his proposed opposition

brief, plaintiff adduces no evidence to rebut the Westfall Act certification and makes only

conclusory assertions.1 Therefore, plaintiff has failed to meet his burden, and the Court should

substitute the United States as defendant for Representative Schiff.

       Once substituted as defendant, plaintiff does not dispute that the Court lacks subject

matter jurisdiction over the United States. Accordingly, plaintiff concedes that dismissal would

be appropriate upon substitution.


       1
         On March 8, 2023, the United States moved to substitute itself for Representative Schiff
as one of the defendants in this case and moved for dismissal. The plaintiff failed to timely
respond to that motion. On March 24, 2023, this Court granted the United States’ motion in full
and ordered the remainder of the matter remanded to the Superior Court of the State of
Delaware. (D.I. No. 16). Plaintiff then moved to set aside that judgment under Rule 60(b),
attaching a proposed brief that he wished to file in opposition to the United States’ motion to
substitute. (D.I. No. 18). The United States opposed plaintiff’s Rule 60(b) motion. (D.I. No.
20). On June 7, in the interest of time, this Court invited the United States to file a reply brief in
response to plaintiff’s proposed opposition, noting that it had not granted plaintiff’s Rule 60(b)
motion. (D.I. No. 23). The United States submits this reply brief in response to the Court’s
invitation and notes that it continues to oppose plaintiff’s Rule 60(b) motion.



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II.    ARGUMENT

       There is no basis to reject the Westfall Act certification here. The Court should only

reject a Westfall Act certification if plaintiff meets his “burden of coming forward with specific

facts rebutting it.” Schrob v. Catterson, 967 F.2d 929, 936 (3d Cir. 1992). In other words,

plaintiff must present specific facts showing that under the applicable law Representative

Schiff’s CNN interview was not within the scope of his employment. As set forth in the United

States’ motion, ample caselaw establishes that Representative Schiff’s interview with a national

news network in his capacity as “the Chairman of the House Intelligence Committee,” Compl.

Ex. I at 17/24 (D.I. No. 3-11), was within the scope of his employment as a Member of

Congress. Mot. at 8 (D.I. No. 4). Plaintiff primarily makes two arguments in his proposed

opposition, but as set forth below, neither is meritorious.

       First, plaintiff contends that Representative Schiff’s interview was not done pursuant to

an enumerated or implied power of Congress. Opp’n at 9–10. But Members of Congress do not

have narrow and limited “official duties” that proscribe the scope of their employment. Indeed,

the Supreme Court has rejected plaintiff’s assertion that Members of Congress have specific

limited “official duties.” Id. As the Court has explained in the Speech and Debate Clause

context, “[i]t is well known, of course, that Members of the Congress engage in many activities

other than the purely legislative activities . . . [including] a wide range of legitimate ‘errands’

performed for constituents, the making of appointments with Government agencies, assistance in

securing Government contracts, preparing so-called ‘news letters’ to constituents, news releases

and speeches delivered outside the Congress.” United States v. Brewster, 408 U.S. 501, 512

(1972). Speaking to the press about matters of public concern is a core job function for Members

of Congress. Accordingly, plaintiff’s contention that the nature of the conduct here does not fall




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within the scope of employment for a Member of Congress is unsupported.

       Second, plaintiff asserts that he has met his burden of rebutting the Westfall Act

certification by alleging that Representative Schiff’s CNN interview constituted electioneering

and campaign activity. To support this argument, plaintiff points to allegations in his complaint

asserting that “it is more likely than not that Schiff knew that his statements during the Interview

were lies,” that the “information in the Hunter Biden laptop was of the type that would hurt the

candidacy of Biden,” and that “Schiff had a record of campaigning for Biden.” Opp’n at 10.

Even taking these points collectively, plaintiff has provided nothing more than a conclusory

assertion that Representative Schiff’s statements constituted electioneering and campaign

efforts—one that is belied by the facts. The reporter was interviewing Representative Schiff as

“the Chairman of the House Intelligence Committee,” Am. Compl. Ex. I (D.I. No. 3-11), not as a

campaign official and not as part of any campaign activity. Thus, nothing about Representative

Schiff’s unrelated campaign activity is relevant to the scope of employment analysis here, and

the mere fact that Representative Schiff may have been separately involved in, or supported a

candidate for, the Presidential election is neither unusual nor of any import. Moreover, the

specific question from the reporter was about intelligence matters, and Representative Schiff

was, at the time, Chairman of the House of Representatives Permanent Select Committee on

Intelligence. Am. Compl. ¶ 4 (D.I. No. 3-52). Answering questions from a journalist about

congressional activities is not an “electioneering and campaign effort,” even if it could have

some incidental impact on an individual’s future electoral prospects.2



       2
         In Operation Rescue National v. United States, Senator Kennedy was attending an
“event to raise funds for his upcoming campaign for reelection” when a reporter asked him a
question about a pending bill. 975 F. Supp. 92, 108 (D. Mass. 1997), aff’d, 147 F.3d 68 (1st Cir.
1998). Accordingly, that court assumed “for present purposes that the Senator’s remarks were



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       And, contrary to plaintiff’s assertions, the test for scope of employment is not whether the

statements were allegedly defamatory. Opp’n at 12. A scope of employment analysis

necessarily trains on the nature of the conduct at issue, not on whether the conduct was allegedly

tortious or improper. See, e.g., Smith v. Clinton, 886 F.3d 122, 126 (D.C. Cir. 2018); Klayman v.

Obama, 125 F. Supp. 3d 67, 83 (D.D.C. 2015).

       In sum, plaintiff fails to meet his burden to present facts or law rebutting the Westfall Act

certification. The Court should therefore honor the certification and substitute the United States

as defendant for Representative Schiff. It should do so without permitting any discovery, contra

Opp’n at 13 (requesting “limited discovery”), because “[i]f the facts can be determined without

an evidentiary hearing, the court can rule on a pretrial motion to substitute or to set aside the

substitution based on the certification, pleadings, documentary evidence, and affidavits.”

Schrob, 967 F.2d at 936; see also Wuterich v. Murtha, 562 F.3d 375, 382 (D.C. Cir. 2009) (“by

authorizing discovery notwithstanding Congressman Murtha’s claim that he was acting within

the scope of his employment” the district court was “effectively den[ying]” the employee the

absolute immunity afforded by the Westfall Act and immediately appealable).

III.   CONCLUSION

       The Court should substitute the United States as defendant for Representative Schiff.

Once substituted, the Court should dismiss the United States for lack of subject matter

jurisdiction because plaintiff concedes he has failed to exhaust his administrative remedies under

the Federal Tort Claims Act.



also motivated in some measure by a desire to promote his personal popularity, and thus enhance
his ability to raise campaign funds and win votes.” Id. at 95. The court nonetheless concluded
that Senator Kennedy’s remarks, in response to a question from the reporter about pending
legislation, were within the scope of his employment. Id. at 109.



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                                  Respectfully submitted,

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Dated: June 9, 2023




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